Case 2:12-md-02327 Document 662-4 Filed 07/10/13 Page 1 of 2 PageID #: 7858




                            EXHIBIT 4
 Case 2:12-md-02327 Document 662-4 Filed 07/10/13 Page 2 of 2 PageID #: 7859




July 1, 2013

VIA E-MAIL

Christy Jones
Butler, Snow, O'Mara, Stevens & Cannada, PLLC
1020 Highland Colony Parkway
Suite 1400
Ridgeland, MS 39158-6010

       RE:      In re: Ethicon, Inc. Pelvic Repair System
                Products Liability Litigation MDL No. 2327

Dear Christy:

        I write in response to your recent letter regarding the ongoing issues regarding document
production, and your revised discovery responses. We have reviewed those responses and
objections carefully, but given all of the problems with the production to date and the fact that
many of your client’s objections (including those asserted in the most recent responses) may
have already been waived, we need to move forward with a hearing on our motion to compel.
We are available either by phone or in person for this hearing. Given all of the upcoming
depositions and other deadlines, we need to have this issue heard as soon as possible. Perhaps if
we do that hearing in person we can meet immediately thereafter as to the remaining outstanding
requests.

Regards,




Bryan Aylstock

cc:    Tom Cartmell (via email)
       Renee Baggett (via email)
       Ben Watson (via email)
